                           Case 23-10207-TMH              Doc 581        Filed 09/21/23        Page 1 of 2


                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


             In re                                                       Chapter 11

             STANADYNE LLC, et al.1                                      Case No. 23-10207 (TMH)

                                      Debtors.                           (Jointly Administered)


                      CERTIFICATE OF NO OBJECTION REGARDING DOCKET NO. 547

                            The undersigned hereby certifies that, as of the date hereof, she has received no

         answer, objection or other responsive pleading to the Fifth Monthly Fee Statement of Hughes

         Hubbard & Reed LLP as Counsel for the Debtors for Compensation for Professional Services

         Rendered and Reimbursement of Expenses Incurred for the Period from July 1, 2023 Through and

         Including July 31, 2023 [Docket No. 547] (the “Application”) filed on August 31, 2023.

                            The undersigned further certifies that, as of the date hereof, she has reviewed the

         Court’s docket in these cases and no answer, objection, or other responsive pleading to the

         Application appears thereon. Objections to the Application were to be filed and served by

         September 20, 2023 at 4:00 p.m. (ET).

                            Pursuant to the Order Pursuant to Sections 105(a), 330, and 331 of the Bankruptcy

         Code, Bankruptcy Rule 2016 and Local Rule 2016-2 Establishing Procedures for Interim

         Compensation and Reimbursement of Expenses of Professionals [Docket No. 136], the Debtors

         are now authorized to pay 80% ($364,507.20) of requested fees ($455,634.00) and 100% of

         requested expenses ($309.36) on an interim basis without further order of the Court.




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              The debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
              number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings, Inc. (2594);
              and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White Street,
              Jacksonville, North Carolina 28546.


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                     Case 23-10207-TMH   Doc 581     Filed 09/21/23   Page 2 of 2


         Dated: September 21, 2023       YOUNG CONAWAY STARGATT
                Wilmington, Delaware     & TAYLOR, LLP

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